

People ex rel. Rattoballi v Maginley-Liddie (2024 NY Slip Op 03802)





People ex rel. Rattoballi v Maginley-Liddie


2024 NY Slip Op 03802


Decided on July 11, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 11, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
LARA J. GENOVESI
DEBORAH A. DOWLING
LAURENCE L. LOVE, JJ.


2024-05396

[*1]The People of the State of New York, ex rel. Anthony J. Rattoballi, on behalf of Yerim Yoon, petitioner, 
vLynelle Maginley-Liddie, etc., et al., respondents.


Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, and Rebecca Nealon of counsel), for respondents.
Anthony J. Rattoballi, Garden City, NY, petitioner pro se.
Writ of habeas corpus in the nature of an application to release Yerim Yoon upon her own recognizance or, in the alternative, to set reasonable bail upon Queens County Indictment No. 72015/2024.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Queens County Indictment No. 72015/2024 is set in the sum of $35,000 posted in the form of an insurance company bail bond, the sum of $70,000 posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $35,000 deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Yerim Yoon shall (1) surrender all passports, if any, she may have to the Office of the District Attorney of Queens County, or, if she does not possess a passport, she shall provide to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which she attests that she does not possess a passport, and shall not apply for any new or replacement passports; and (2) provide to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which she attests that if she leaves the jurisdiction she agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Yerim Yoon (1) has given an insurance company bail bond in the sum of $35,000, has given a partially secured bond in the sum of $70,000, with the requirement of 10% down, or has deposited the sum of $35,000 as a cash bail alternative; (2) has surrendered all passports, if any, she may have to the Office of the District Attorney of Queens County, or, if she does not possess a passport, has provided to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which she attests that she does not possess a passport, and shall not apply for any new or replacement passports; and (3) has provided to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which she attests that if she leaves the jurisdiction she agrees to waive the right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Yerim Yoon is incarcerated, or his or her agent, is directed to immediately release Yerim Yoon from incarceration.
BARROS, J.P., GENOVESI, DOWLING and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








